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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA


  LUIS MANUEL RODRIGUEZ, et al.,
                                                       Case No.: 1:20-cv-23287-DPG
                                Plaintiffs,

         v.


  IMPERIAL BRANDS PLC, et al.,

                                Defendants.


              DEFENDANT IMPERIAL BRANDS PLC’S FIRST STATUS REPORT

         Defendant Imperial Brands plc (“Imperial”) respectfully submits this status report pursuant

  to the Court’s September 23, 2020 Order [D.E. 49] granting Imperial’s motion for a limited stay

  of proceedings and directing Imperial to submit monthly status reports on its application to the

  European Commission (the “Commission”) for authorization to defend this lawsuit or, at a

  minimum, to file and litigate a motion to dismiss. By way of update, Imperial states as follows:

         1.      As Imperial previously advised the Court [D.E. 14, D.E. 15-1], on August 27, 2020,

  Imperial submitted an application to the Commission under Article 5 paragraph 2 of Council

  Regulation (EC) No. 2271/96, Protecting Against the Effects of the Extra-Territorial Application

  of Legislation Adopted by a Third County, and Actions Based Thereon or Resulting Therefrom,

  1996 O.J. (L. 309) 1 (EC) (“Regulation 2271/96”), for authorization to defend this lawsuit or, at a

  minimum, authorization in the first instance to file and litigate a motion to dismiss (the

  “Application”).

         2.      The Commission has acknowledged receipt of Imperial’s Application, and has

  cautioned Imperial that unless and until the Commission provides authorization Imperial is
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  prohibited from appearing before this Court pursuant to the summons in this action under Title III

  of the Helms-Burton Act.

         3.      Imperial notified the Commission of the requirement to file a status report and

  requested that the Commission therefore provide Imperial an update on the status of its application

  ahead of the October 23, 2020 due date. On October 21, 2020, the Commission informed Imperial

  that the Commission is currently analyzing Imperial’s application and will do its utmost to ensure

  that a decision is made in due course.

  Dated: October 23, 2020
         Miami, Florida
                                                Respectfully submitted,

                                                /s/ Mark F. Raymond
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